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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION
                                                                                   FILED.
                                                                                     JAN 022025
MARK ANTHONY ORTEGA
                                                                            CLERK US. DISTRICT COUP I
                            Plaintiff,                                      WESTERN DI TRIC OF TEXA:


                                                      Case No. SA-CV-00662-FB
JOHN DOE


                             Defendant.


                   PLAINTIFF'S RESPONSE TO SHOW CAUSE ORDER

       COMES NOW, Plaintiff Mark Anthony Ortega, proceeding pro se, and files this Response

to the Court's Show Cause Order dated December 5, 2024 (ECF No. 6). Plaintiff respectfully shows

the Court as follows:

                                             BACKGROUND

        1.     Plaintiff filed this action on June 10, 2024. On July 23, 2024, the Court granted

Plaintiffs motion for leave to serve a third-party subpoena to identify the true identity of Defendant

(Doc. 5).

        2.     Plaintiff understands the importance of serving the Defendant within the time limits

set by the Federal Rules of Civil Procedure. Since the Court's Order of July 23, 2024, Plaintiff has

made multiple attempts to issue subpoenas to identify and serve the Defendant.

        3.     Plaintiff sent two subpoenas, one for each intended defendant, to the Clerk of Court

for signature on or around August 27, 2024 and again on or around September 20, 2024. The
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subpoenas were sent in order to obtain information for the identification of the defendants. These

subpoenas were not returned to Plaintiff.

        4.      Due to this delay, Plaintiff re-sent the necessary subpoenas to the Clerk of Court on

December 22, 2024, for signature, with the intention of serving them promptly upon their return,

on Onvoy and Peerless Network, potential third parties that may have information to help identify

the defendants.

        5.      Plaintiff believes that the failure to identify and serve the Defendant within the 90-

day period is due to the delay in processing and returning the subpoenas by the Clerk's office. This

delay was not due to any lack of diligence on Plaintiffs part. The resubmission of the subpoenas

on September 20, 2024 and again on December 22, 2024, demonstrates Plaintiffs continued effort

to prosecute this case diligently.

        6.        Plaintiff respectfully requests an extension of time to serve the Defendant. Upon

receipt of the signed subpoenas from the Clerk of Court, Plaintiff will promptly serve them on the

intended third parties and take all necessary steps to identify and serve the Defendant in this action.



Dated: December 22, 2024                               Respectfully submitted,

                                                       Mark Anthony Ortega

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                                                       mortgautexas .edu
                                                       P0 Box 702099
                                                       San Antonio, TX 78270
                                                       Telephone: (210) 744-9663
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